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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHVSETTS '"
                                                             L, ,_I    ... )




UNITED STATES OF AMERICA and
COMMONWEALTH OF
MASSACHUSETTS ex reI. CARMEN
CORREA and JULIO ESCOBAR

      Relators-Plai nti ffs.

v.

UNIVERSAL HEALTH SERVICES; INC. ,
UHS OF DELAWARE, INC, and HRI
CLINICS, INC.

       Defendants.


                                      COMPLA1NT


      Qui tam relators Carmen Correa and Julio Escobar ("Relators"), on behalf of the

United States of America and the Commonwealth of Massachusetts, bring this action

against Defendants Universal Health Services, Inc., UHS of Delaware, Inc., and HRI

Clinics, Inc., (together, UHS"), pursuant to the federal False Claims Act, 31 USc.
                         j/




§ 3729 et seq., and the Massachusetts False Claims Act, M.G.L. Chapter 12, § SA et seq., to

recover damages and penalties resulting from Defendants' improper billing to the

Massachusetts Medicaid program, MassHeaJth, for mental health services. The claims

were paid by Massachusetts Behavioral Health Partnership ("MBHP") and Managed

Care Organizations ("MCOs"), but were paid with funds provided by the United States

and the Commonwealth of Massachusetts.
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                                   INTRODUCTION

      1.      The allegations in this Complaint arise out of UHS's routine practice of

billing of mental health services by unlicensed, unqualified, and unsupervised

employees. UHS billed for these services at its Lawrence, Massachusetts mental health

center in clear violation of several express requirements of Massl-Iealth, the

Massachusetts Medicaid program, and the requirements of persons who contracted

with MassHealth to administer the payment of mental health benefits for Massl-Iealrh

beneficiaries: MBHP and the various MCOs. UHS had full knowledge of these

violations and facilitated them with false statements, yet billed MBHP and MCOs

anyway, as if the services had been provided by qualified and properly supervised

mental health professionals in fuJI compliance with MassHealth regulations. Relators

discovered these false and fraudulent billing practices from their own investigation into

the death of their daughter, Yarushka Rivera ("Yarushka"), a 17-year-old high school

student who received gravely inadequate treatment from UHS's unsupervised and

unqualified personnel at the Arbour Counseling Services (" Arbour") facility in

Lawrence. Relators discovered that UHS's failure to comply with licensing and

supervision requirements was not limited to the individuals who provided services to

their daughter, and that UHS's scheme to improperly bill MBHP and MCOs was

facilitated by false statements. Moreover, although UHS's knowing disregard of the

licensing, qualification and supervision requirements had been in effect before UHS

began to deliver services to Yarushka in 2007, the policies and practices at UHS that
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resul ted in the su bmission of false claims for Yarushka's trea trnen t continued in effect

until at least 2013, and to the best of Relators' knowledge, continued well after that time.

                                          PARTIES

       2.       Plaintiff-Relators Carmen Correa and Julio Escobar (collectively, the

"Relators"), are married and reside in Methuen, Massachusetts. Yarushka is the late

daughter of Carmen Correa and the step-daughter of Julio Escobar. At all times

relevant to this Complaint, Yarushka was a recipient of MassHealth insurance benefits

paid for by MBHP.

      3.        Defendant Universal Health Services, Inc., (" Universal"), is a for-profit

Delaware corporation which does business in Massachusetts and has a principal place

of business at 367 Cui ph Road, King of Prussia, PA 19406.

       4.       Defendant UHS of Delaware, Inc., is a for-profit Delaware corporation

which does business in the state of Massachusetts, and has a principal place of business

at 367 Gulph Road, King of Prussia, PA 19406. UHS of Delaware, Inc. is a wholly

owned subsidiary of U ni versal.

       5.       Defendant HRI Clinics, Inc., ("HRI") is a for-profi t Massachusetts

corporation doing business in Massachusetts, with a principal place of business located

at 367 South Gulph Road, King of Prussia, PA 19406. HRI is a wholly owned subsidiary

of Universal.

       6.       As described below, UHS owns, operates and manages counseling

facilities throughout eastern Massachusetts including: Arbour Counseling Services,

Allston; Arbour Counseling Services, Jamaica Plain; Arbour Counseling Services, Fall

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River; Arbour Counseling Services, Franklin; Arbour Counseling Services, Haverhill

(" Arbour Haverhill"); Arbour Counseling Services, Lawrence (" Arbour

Lawrence"); Arbour Counseling Services, Lowell; Arbour Counseling Services, Norwell;

Arbour Counseling Services, Woburn; Arbour Counseling Services, Malden (" Arbour

Malden"); and Arbour Counseling Services, Worcester. Collectively, these UHS owned

Massachusetts based entities are referred to as Arbour." The Arbour counseling
                                                        /I




centers are all mental health centers, as that term is defined by Massl-Iealth at 130 CMR

429.402. At all relevant times, Arbour Lawrence was a "satellite" of Arbour Malden.

        7.      During most of the relevant time period, Arbour Malden was the main, or

parent center.' and the other Arbour Counseling entities were satellite facilities of

Arbour Malden.?

                                 JURISDICTION AND VENUE

        8.      This Cou rt has jurisdic bon over the subject ma tter of this action pursuant

to 28 us.c § 1331,28 USc. § 1367, and 31 USc. § 3732, the latter of which specifically

confers jurisdiction on this Court for actions brought pursuant to 31 USc. §§ 3729 and

3730. This court also has supplemental jurisdiction over the Commonwealth of

Massachusetts claims that arise from the same transaction or occurrence.




I In 2013, the parent center located in Malden was moved to a new location in Medford. For the sake of

clarity, this center will still be referred to as Arbour Malden throughout this complaint

z From 1989 until 2014, Arbour Malden was the parent center for the other Arbour Counseling centers.
However, on May 1, 2014, Arbour \-\loburn was issued a clinic license by DPH wherein Arbour VVoburn
was listed as the parent center for Arbour Fall River, Arbour Lowell, Arbour Franklin, Arbour Lawrence.
Arbour Hav erhill, Arbour Worcester, Arbour Allston, and Arbour West Yarmouth . Prior to Arbour
Woburn's designation as the parent center, it was a satellite facility of Arbour Malden .

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       9.      To the best of the Relators' knowledge, for the purposes of 31      usc.
§3730(e)(4), no pu blic disclos ure of the allega tions or tra nsacrions' that are the basis of
                                           II




this action occurred prior to the Relators' filing of a qui tam action, U.S . ex rel. Escobar P .

Universal Henlth Seroices. lnc., Civil action No. 11-11170-DPW in the United States

District Court for the District of Massach usetts on July 1, 2011. Prior to the fil ing of tha t

action, the Relators voluntarily disclosed to the United States and the Commonwealth

of Massachusetts the allegations and transactions at issue in this case . The Relators also

have knowledge that is independent of any such disclosure and which materially adds

to the publicly disclosed allegations or transactions. Conseq uently, the Relators are the

original source of the information upon which the False Claims Act allegations in this

complaint are based.

       10.     This Court has personal jurisdiction over the defendants, pursuant to 31

usc. § 3732(a), because UHS operates mental health centers throughout Massachusetts
and, accordingly, transacts business in the District of Massachusetts.

       11.     At all times releva nt to this Compia i n t. UHS regular! y cond ucted

substantial business within the District of Massachusetts and maintained employees

and offices in Massachusetts. In addition, statutory violations, as alleged herein,

occurred in the District of Massachusetts.

THE RELATIONSHIPS BETWEEN UNIVERSAL, UHS OF DELAWARE, INC. AND
              BRI, AND THEIR CONTROL OF ARBOUR

       12.     Universal is a holding company which owns and operates health care

facilities, including behavioral health centers. At the time Yarushka Rivera was treated


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by Arbour, Universal owned, controlled, and operated 101 behavioral health centers in

32 states, the District of Columbia and Puerto Rico . At the time of the filing of this

Complaint it owns, controls and operates at least 216 such centers.

       13.    According to Universal's Form 10-K, filed with the United States

Securities and Exchange Commission, UHS of Delaware, Inc. is the management

company for Universal. Relators are not certain which responsibilities are lodged in

Universal and which are held by UHS of Delaware, lnc. . but between the two entities

they manage and control all of the operating entities owned by Universal, including the

Arbour facilities. UHS of Delaware, Inc. and Universal are collectively referred to

herein as "UHS, Inc."

       14.    UHS, Inc. hol ds all of its behavioral health centers through su bsid iaties,

such as ERI. However, notwithstanding the name of the entity which technically holds

the license, all behavioral health center operations are managed by UHS, Inc. and all

behavioral health centers, including the Arbour facilities, report to su pe rv isors who are

UHS, Inc. employees.

       15.    In fact, all employees of the behavior health centers are hired by UHS, Inc.

Persons interested in being employed in any UKS mental health facility, in any

capacity -from the most credentialed treating professional to the lowest paid        .

employee-either apply directly through the UHS, Inc ., website or through third

parties, such as Monster, who identify the employer as UHS, Inc. The same procedures

apply to the Arbour facilities.



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       16.    Through its control of the human resources and the hiring process, UHS,

Inc., sets the qualifications for each of the mental health professionals who treat patients

at the behavioral health centers, induding the Arbour facilities. Through its control of

human resources, UHS, Inc. also establishes the lines of reporting and supervision at the

behavioral health clinics, including the Arbour facilities.

       17.    Each of the Arbour facilities identified above operates under a license

granted by the Massachusetts Department of Public Health to Arbour Counseling

Services. There is no corporation or other business entity recognized by the

Commonwealth (or any other state) with the name Arbour Counseling Services.

       18.    Notwithstanding the fact that it d.oes not formally exist, Arbour

Counseling Services purports to have a Chief Executive Officer. That CEO identifies his

primary responsibilities to be achieving budget goals through sound cost management.

Those budget goals were set and created by the officers and employees of UHS, Inc.

Indeed, the Treasurer of HRI, Cheryl Rarnagano. has certified to federal officials that the

CEO of Arbour Counseling Ser vices is an employee of UHS of Delaware, Inc.

      19.     HRI asserts that it does business under the name of Arbour Counseling

Services. However, HRI does not comply with the requirements of the Commonwealth

of Massachusetts, as set forth in M.G.L c. 110, §§ 5 and 6, for doing business under

another name. To the extent it has any operations, HRI only operates in Massachusetts.

Yet HRI concedes that its principal place of business is in King of Prussia, PAl at the

location of UHS, Inc.'s headquarters.



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       20.     HRl's president is Debra K. Osteen. She also serves as a Director of HRI.

Ms. Osteen is a Senior Vice President of Universal and the President of its Behavioral

Health Division. Ms. Osteen serves as the president of over 50 corporations affiliated

with UHS, Inc. She serves on the board of at least 30 corporations affiliated with UHS,

Inc. To the extent she devotes any time to HRI, it is de minimis.

       21.     HRl's Treasurer is Cheryl Ramagano. Ms. Ramagano is the Vice President

and Treasurer of Universal. Ms. Ramagano serves as the Treasurer to over 50

corporations affiliated with UHS, Inc. To the extent she devotes any time to HRl, it is de

minimis.

       22.     HRJ's Secretary is George Brunner, Jr. He is a deputy general counsel of

UHS, Inc. Mr. Brunner serves as the secretary to over 20 corporations affiliated with

UHS, Inc. To the extent he devotes any time to HRL it is de minimis.

       23.     HRl's vice presidents are Steve Filton and Laurence Harrod, who are

respectively the Senior Vice President and Chief Financial Officer of Universal, and the

Vice President of Behavioral Finance of Universal. Mr. Filton and Mr. Harrod also serve

as directors of HRI. Mr. Filton has served as a corporate officer of at least 100 other

corporations affiliated with UHS, Inc. and Mr. Harrod serves as an officer of at least 30

corpora rions a Hitiated wi th UHS, rnc. They each serve on the boa rd of directors of more

than a dozen corporations. To the extent that either of them devote any time to HRI, it

is de minimis.

       24.     All of the officers and directors of HRI receive no compensation from HRI

and devote all or almost all of their time to other UHS, Inc. entities. HRI provides no

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leadership or management of the Arbour facilities, including Arbour Lawrence. All

such management and control comes from employees of UHS, Inc.

       25.   Through its control of HRI, and control over the employees, budgets and

decision-making at each of the Arbour facilities- including its control of Arbour's

personnel, supervision and financial decisions - UHS, Inc. is responsible for

presentation of the Arbour claims to the United States and to the Commonwealth of

Massachusetts. To the extent UHS, Inc. did not present the false claims identified below

to the United States and the Commonwealth of Massachusetts, UHS, Inc. caused the

presentation of such claims.

      26.    UHS, Inc. and HRI are jointly responsible for all of the obligations of UHS

described herein.

                               REGULATORY FRAMEWORK

      A.     MassHealth and Payment Systems for MassHealth Beneficiaries

      27.    The Medicaid Program is a means-tested govenunent entitlement

program, jointly financed by the federal and state governments, that provides health

care to low-income individuals. Under Massachusetts General Laws Chapter 118£, the

Executive Office of Health and Human Services administers the state's Medicaid

program, known as MassHealth. For most MassHealth beneficiaries, MassHealth

provides primary health insurance coverage. Some MassHealth beneficiaries, however,

qualify for health insurance benefits under another health insurance plan, such as

Medicare or a private insurance plan. For these beneficiaries, MassHealth is secondary

insurance, providing coverage for services not covered under their primary plan, or for

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those who qualify, providing co-payor deductible payments that would otherwise be

due under the beneficiaries' primary health plan coverage.

       28.    Under MassHealth regulations, all beneficiaries who receive primary

health insurance coverage from MassHealth must enroll in some type of managed care

program, either in the Managed Care Organization ("MeO") Plan or MassHealth's

Primary Care Clinician ("PCC") Plan. Both the MCO Plan and the PCC Plan provide

mental health benefits to MassHealth beneficiaries.

       29.   MassHealth beneficiaries enrolled in the MeO Plan must enroll in one of

the MCOs approved by MassHcalth. The MCO chosen by the MassHealth beneficiary

is responsible for delivering and paying for the members' health care services. Once the

beneficiary selects an MCO, the beneficiary must receive all healthcare from the

providers within that MCO's network. Each MCO has contracts with the medical and

behavioral health services providers within its network, and all claims for the services

provided to the MCO's Massl-lealth beneficiaries are presented to, and paid by, the

MCOs . The MCOs pay these claims with funds provided by MassHeath, pursuant to

each MeO's contract with MassHealth . MassHealth, in turn, receives its funding from

Medicaid program funds it receives from the United States and the Commonwealth of

Massachusetts. Approximately 35%-50% of MassHealth beneficiaries were enrolled

with a private MCO Plan during times relevant to this Complaint. Through MeO Plans,

MassHealth pays for medical and behavioral health services on a capitated basis (a

fixed monthly fee per beneficiary), and the MCOs ensure payment for beneficiaries'

services.

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        30.   The pee Plan administers non-behavioral health care on a fee-for-service

basis. For behavioral healthcare services, however, the pee Plan contracted with an

MCa that specializes in the administration of mental health services, MBHP. At the

times relevant to this Complaint, approximately 20%-35%, were enrolled in the pee

Plan.

        31.   Some MassHealth beneficiaries are not required to join a managed health

program. See 130 eMR 508.002. These beneficiaries are frequently referred to as "fee­

for-service" CFFS") beneficiaries, and have their services paid for directly by the

MassHealth on a FFS basis. FFS beneficiaries include new MassHealth members who

have not yet enrolled in a managed care plan, members who have Medicare (which

covers 80% of health care costs), members with other primary health insurance coverage

(e.g., employer-sponsored insurance), members who live in an institution, members

who receive hospice care, and undocumented non-citizens, who are provided

emergency medical services only. Id.

        32.   Approximately 30% of MassHealth beneficiaries are not enrolled in the

pec Plan or an Mea Plan. However, because MassHealth does not provide primary

heal th insurance coverage for most of these beneficia ries (or beca use their benefi t s are

statutorily curtailed), MassHealth spends significantly less than 30% of the amounts it

pays for medical or mental healthcare services of this group of MassHealth

beneficiaries. For example, in 2015 MassHealth spent less than 5% of its annual budget

on outpatient medical and behavioral health services for FFS beneficiaries.



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Massl-Icalth's spending for outpatient medical and behavioral health services for FFS

beneficiaries remained at this low level for the relevant time period of this action.

       B.   Payment of Behavioral Health Services of MassHealth Beneficiaries
       Through Massachusetts Behavioral Health Partnership ("MBHP")

       33.     Since 1992, the Commonwealth has operated MassHealth under a section

1115 Demonstration waiver. Section 1115 of the Social Security Act gives the Secretary

of Health and Human Services authority to approve experimental, pilot, or

demonstration projects that promote the objectives of the Medicaid program. The 1992

waiver authorized a behavioral health care carve-out program for MassHealth

recipients.

       34.      Under this arrangement, which has been in effect for more than twenty

years, behavioral health care services for MassHealth members are administered by an

MCO. For MassHealth beneficiaries enrolled in the PPC Plan, mental health care claims

are paid for and administered by a private contractor who enters into a written

agreement 'with MassHealth. Since 1996, MBHP, a subsidiary of ValueOptions Inc.. has

served as the behavioral health vendor for MassHealth's PPC members." ValueOptions

Inc. merged with Beacon Health Holdings in December 2014. Both entities are

independently opera ted su bs id iaries of Beacon Heal th Options (" Beacon").

       35.      MassHealth pays MBHP for each           pee member on a capitated basis from
Medicaid program funds which MassHealth receives from the United States and the

Commonwealth of Massachusetts.

.1 Most recently. in July 2017, the Executive Office of Health and Human Services and MBHr signed a new

five-year contract to provide behavioral health service to MassHealtb pee members.


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        36.     For Massl-Iealth members enrolled in the MCa Plan, MassHealth has

entered into a written contract with six MCas for the provision of medical and mental

health care services: Boston Medical Center HealthNet Plan, Neighborhood Health

Plan, Tufts- Network Health, Fallon Community Health Plan, Health New England,

and CeltiCare. 4

        37.     In practice, the vast majority of MassHealth beneficiaries who receive

primary coverage from MassHealth have their behavioral health services paid for by

MBHP or its affiliate, Beacon. Just as Massl-Iealth has contracted with MBHP to provide

and administer mental health care services for          pee Plan members, most of the MCas

have contracted with MBHP's affiliate, Beacon, on a capitated basis to provide

behavioral health care services to MCa Plan members." Thus, because all PPC Plan and

nearly all MCa Plan beneficiaries have their behavioral health care services paid for by

Beacon or MBHP, MBHP and its affiliates administer and pay for the behavioral health

care services of at least 60%-70% of MassHealth beneficiaries.

        38.     For outpatient mental health clinics, such as the Arbour facilities, the

percentage of MassHealth claims paid by MBHP, Beacon and its affiliates is much

higher. With no i npa tient or chronic beha vioral heal th facili ties, the onl y serv ices the


~In addition to these six MCOs, during the relevant time period UHS contracted and submitted
behavioral health claims to five other MCOs (along with their affiliates) serving Massl-Iealth members :
Commonwealth Care Alliance, CCA One Care, Senior Whole Health, Tufts Health Plan, and Evercare
(United Health Care). These plans serve discrete groups of beneficiaries, such as persons with
disabilities, seniors, and individuals eligible for expanded Medicaid coverage under the Affordable Care
Act.

3On information and belief, during all times relevant to this complaint, only one of the MCOs, Tufts­
Network Health, does !/OI contract with MBHP for the payment of behavioral health care services of its
covered beneficiaries.

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Arbour Clinics provided to MassHealth members that would be reimbursed on a FFS

basis were services for those members enrolled in Medicare or otherwise had

MassHealth as secondary coverage. Accordingly, the vast majority of behavioral health

services of provided to MassHealth members at the Arbour clinics were reimbursed by

MCOs, including MBHP.

C.     MassHealth Regulations for Provision of Behavioral Health Services

      39.     According to The Centers for Medicare & Medicaid Services ("CMS"), the

federal agency that partners with the state governments to administer Medicaid to

eligible beneficiaries, Medicaid strives to improve the quality of healthcare services

delivered to program beneficiaries in a manner which prevents or minimizes harm to

patients. CMS recognizes that communication and coordination between properly

qualified healthcare providers is paramount to ensuring that quality health care is

delivered safely to Medicaid beneficiaries.

      40.    In accordance with this directive from CMS, the Massachusetts Medicaid

program, MassHealth, promulgates regulations that govern a healthcare provider's

interactions with the program. See generally, 130 CMR §401.401-130 CMR §650.035.

See also 42 US.c. §§1396 - 1396v. The MassHealth regulations that apply to mental

health centers are set forth in Chapter 429.000 of Massllealths provider regulations.

The regulations set forth in Chapter 429.000 establish" requirements for participation of

mental health centers," see, § 429.401, regardless of whether such mental health services

are paid directly by MassHealth or paid through a contractor, such as MBHP or one of



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the MCOs. Accordingly, these requirements apply equally to claims presented to

MassHealth, MBHP or an MeO.

       41.    It is axiomatic that a mental health center's ability to deliver safe, quality

health care to patients depends upon the facility's mental health care professionals

obtaining the proper qualifications for their particular profession and providing

supervision to other health care providers who administer services to patients.

Requiring practitioners who provide mental health services to MassHealth beneficiaries

to have minimum qualification and supervision requirements is critical to ensuring that

MassI-Iealth members receive services of the requisite quality. Unless practitioners

meet the minimum training, experience and supervision requirements, MassHealth

does not receive the benefit of its bargain - it cannot be certain that its members are

being treated by individuals ...vith the requisite qualifications to provide services that

will actually assist its beneficiaries. MassHealth has a vital state interest in ensuring

that its members are not treated by charlatans or mountebanks, and that government

funds are not wasted by payments to incompetent practitioners.

       42.    Section 429.424 sets forth the professional qualification and supervision

requirements for psychiatrists, psychologists, social workers, and psychiatric nurses

working in a mental health center. Indeed, having properly qualified and licensed

health care professionals who communicate with and supervise staff in administering

health care services to patients is so integral to Massliealth's ability to deliver quality

care to patients while minimizing patient harm, that the agency conditions a mental

health center's ability to receive payment on compliance with these regulations: [t]he
                                                                                     /I




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MassHealth agency pays for diagnostic and treatment services only when a professional

staff member, as defined by 130 CMR §429.424, personally provides these services to the

member or the member's family." §429.441(A). Similarly, the title of § 429.424 makes it

clear that professional staff who fail to meet the qualifications requirements set forth

therein are not "authorized to render billable mental health center services."6

        43.     Thus, MassHealth through its formal regulations has made it plain that

compliance with the qualifications requirements established by § 429.424 is material to

its payment decision-the regulations forbid reimbursement for services provided by

personnel who fail to meet these requirements. Further, because these requirements

are mandatory for participation in Massl-Iealth, such requirements are also material to

the payment decision of any person with whom Massl-Iealth has contracted to

administer claims presented by mental health centers, including MBHP and the MCOs.

       44.     The regulations require a mental health center to have at least one

psychiatrist who is "currently ... certified by the American Board of Psychiatry and

Neurology, or the American Osteopathic Board of Neurology and Psychiatry, [or] be

eligible and applying for such certification." §429.424(A)(l). Any additional

psychiatrists employed by the mental health center "must be, at a minimum, licensed

physicians in their second year of a psychiatric residency program accredited by the

Council on Medical Education of the American Medical Association." §429.424(A)(2).


e The title of Section 429.424 was amended in 2014 to include the language that that professional staff
must meet the qualification requirement to be authorized "to render billable mental health center
services. Before that however, the definitions of the service codes for individual, family and group
therapy (90806, 90847 and 90853) expressly required the service provider to have met the requirements of
§ 429,424 . The 2014 amendment merely codified the administrative requirement that was already known
and in effect.

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Such physicians must be under the supervision of a fully qualified psychiatrist, as

articulated in §429.424(A)(1).

       45.    The regulations also set forth minimum requirements for psychologists.

Section 429.424(B)(1) requires at least one staff psychologist to be licensed by the

Massachusetts Board of Registration of Psychologists and specialize in clinical or

counseling psychology, or a closely related specialty. All staff psychologists are

required to have obtained a master's degree (or the equivalent) in clinical or counseling

psychology from an accredited institution and either be currently enrolled in or have

completed a recognized doctoral program. 130 CMR § 429.424(B)(2). The regu lations

further state that "[a]1I services provided by such additional staff [psychologists] must

be under the direct and continuing supervision of a psychologist meeting the

requirements set forth in 130 CMR 429.424(6)(1 )."

       46.    The credentia Is and q II aIifica tions psychic tric nurses a re reg u i red to

possess before a mental health center may bill for services rendered are also set forth at

§ 429.424 . The regulations state that "[a]t least one psychiatric nurse must be currently

registered by the Massachusetts Board of Registration in Nursing and must have a

master's degree in nursing from an accredited National League of Nursing graduate

school with two years of full-time su pervised clinical experience in multidisciplinary

mental-health setting and be eligible for certification as a clinical specialist in

psychiatric/ mental-health nursing by the American Nursing Association ." §429.424(D).

A psychiatric clinical nurse specialist - a licensed registered nurse authorized to

practice in an expanded role - can perform prescribing duties wi thin their scope of
                                 I(




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practice." §429.424(E). The regulations also state that psychiatric nurses must meet the

requirements set forth in 244 CMR 4.05(4), which states that such nurses must be under

the direct supervision of a physician.

       47.    Regarding social workers, the regulations state that "[a]t least one staff

social worker must have received a master's degree in social work from an accredited

educational institution and must have had at least two years of full-time supervised

clinical experience subsequent to obtaining a master's degree." §429.424(C)(1). "Any

additional social workers on the staff must provide services under the direct and

continuous supervision of an independent clinical social worker." §429.424(C)(2). All

unlicensed counselors" must be under the direct and continuous su pervision of a fully

qualified professional staff member." §429.424(F)(1). AU counselors must hold a

master's degree in counsel ing educa tion, cou nsel i ng psychology, or reha bilita tion

counseling from an accredited educational institution and must have had two years of

full-time supervised clinical experience in a multidisciplinary mental-health setting

subsequent to obtaining the master' 5 degree. § 429.424(F)(2).

       48.    The composition of a mental health center's professional staff is an

important part of the center's ability to deliver safe, quality care to patients. The

regulations, therefore, require a mental health center like UHS's Arbour facility to have

a balanced. interdisciplinary staff including professional staff members who meet the

qualifications discussed above. One of these staff members must be a psychiatrist and

two must be from non-physician disciplines including psychology, social work, or

psychiatric nursing. §429.422(A) . The regulations state that the staff" must have

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specific training and experience to treat the target populations of the center." For

example, staff members administering services to children "are required to have

specialized training and experience in children's services." §429.422(B).

           49.     To further ensure that quality care is delivered to Massl-Iealth

beneficiaries by professionally supervised staff, the regulations require a mental health

center to appoint a medical director and a clinical director. Section 429.422(A) provides

that a mental health center must have at least one psychiatrist who meet[s] the 1/




qualifications outlined in 130 CMR 429.424" as the center's medical director. The

medical director is responsible for establishing all medical policies and protocols and
                          If




for supervising all medical services provided by the staff." §429.423(C) .

          50.      All mental health centers must also employ a director of clinical services

who is responsible for the direction and control of all professional staff members and

services. §429.423(B) . The clinical director is "responsible for ensuring compliance of

the satellite program with the regulations in 130 CMR 429.000." §429.439(A)(1).

Additionally, the clinical director is responsible for the selection of clinical staff,

accountability for adequacy and appropriateness of patient care, the establishment of

policies and procedures for patient care, program evaluation. and the establishment of a

quality management program. §429.423(B) . The clinical director must ensure

appropriate supervision of staff, §429.423(B)(2)(c), and must retain adequate ps ychiatric

5 taff.   §429 .423(8 )(2)(e) . Section 429.439 sta tes tha t a sa tell ite tacili ty ' s cl i n icaI director

must "meet all of the requirements in 130 CMR 429.423(8)."




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       51.     Section 429 .439 expressly prov ides tha t satisfaction of the clinics l

director's responsibilities is a prerequisite to payment under Medicaid: " [s]ervices

provided by a satellite program are reimbursable only if the program meets the

standards described below [in subsections (A) through (D)]."

       52.     Other Chapter 429.000 regulations reiterate the requirement that mental

health facilities use qualified and properly supervised staff. Section 429,421(A)(2)

provides that " [all] services must be ... deli vered by qualified staff in accordance with

130 CMR 429.424." Section 429.438(E) provides that mental health centers must

s upe rv ise staff members "within the context of a formalized relationship," that such

supervision must be "appropriate to the person's skills and level of professional

development" and consistent with applicable professional licensing standards.

§429.438(E)(1)-(2). And §429.408(C) expressly states that Medicaid payment for mental

health services includes payment for supervision.

       53.     All of the regulations discussed above apply to both "parent centers,"

which are defined as "the central location of the mental health center," and "satellite

facilities" like UHS's Arbour clinic, which is "a mental health center program at a

different location from the parent center that operates under the license of and falls

under the fiscal, administrative, and personal management of the parent center."

§429.402. Satellite facilities are further defined as either autonomous", those that have
                                                              II




"sufficient staff and services to substantially assume [their] own clinical management,"

or "dependent," sa telli te facilities tha t opera te "u nder the d irec t clinical management of

the parent center." §429.402.

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       54.    Massachusetts regulations do not distinguish between beneficiaries that

receive benefits via MassHealth fee-for-service, or through contracting entities, such as

MBHP and the various MCOs - all beneficiaries are considered MassHealth members.

130 CMR § 450.101. Thus, all claims submitted on behalf of any MassHeaJth beneficiary

must comply 'with State Medicaid regulations.

D.     Other Massachusetts Agency Regulations

       55.    Numerous other agencies in the Commonwealth promulgate regulations

which stress the importance of having qualified professionals and staff supervision in

mental health centers. Massachusetts' Department of Public Health ("DPH"), which

licenses and regulates mental health facilities, emphasizes the critical importance of

appropriate staff supervision. DPH regulations provide that case consultation,

psychotherapy, and counseling services provided at such clinics must be supervised

"by the mental health professionals identified in 105 CMR 140.530(C)." §140.520(D)(1).

Section 140.530(C), in turn, requires that every satellite facility have a board-certified or

board-eligible psychiatrist on staff - "[aJ satellite clinic must meet, independently of its

parent clinic, all the requirements imposed on clinics by 105 CMR 140.000." The

psychiatrist is also responsible for the prescribing, monitoring, and supervising of all

prescribed medications, the clinical supervision of appropriate staff, and the

docu men ta tion of such su pervision. §140.530(D) (E); §429 .423(0)(2)( f). Section

140.530(E) further provides that unlicensed staff members must be clinically supervised

on a regular basis by professional staff members as defined in §140.530(E).



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       56.    Massachusetts regulations relating to the standards of professional

practice and conduct in social work are set forth at 258 CMR §20 et seq. The regulations

state that it is "unethical or unprofessional conduct" to authorize or permit "a person to

perform functions or services which constitute the practice of social work... when one

knows or has reason to know that said person is not licensed by the Board and that a

license is required" to perform the services rendered. 258 CMR §20.01(5). Section

20.01(6) further states that it is unethical to allow a licensed social worker to perform a

particular service when one knows, or has reason to know, that the performance of that

service "exceeds the legally permissible scope of practice for that level of licensure."

The regulations also make it unethical to engage in any course of conduct which is

prohibited by any provisions of the Code of Ethics of the National Association of Social

Workers. 258 CMR §20.01(10). Section 20.03 also forbids a social worker from

performing any service which" exceeds the legal! y permissible scope of practice for his

licensure."

       57.    Regulations propounded by the Board of Registration in Medicine

regarding licensing and the practice of medicine are set forth at 243 CMR §2.00. The

purpose of the regulations is to set standards which promote public health and safety in

the practice of med icine. These regulations discuss the appropriate su pervision of

nurses prescribing medication at 243 CMR §2.10(3), requiring a board certified or board

eligible psychiatrist with admitting privileges to supervise a psychiatric nurse who is

prescribing medication. The supervising physician shall also review the nurse's

prescribing practice and provide ongoing direction regarding that practice. 243 CMR

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§2.10(4}. The Board of Registration in Nursing regulations are set forth at 244 CMR 4.00

and also set forth the requ irements for a physician su pervising a psychia tric clinical

nurse.

         58.   Regulations of the Department of Public Health, governing the

management and operation of a Mental Health Center regardless of payment source,

provide that all care providers must be clinically supervised on a regular basis by

professional staff members and that the documentation of supervision must be

available for review. See 105 CMR §140.530(E}. Irrespective of whether a mental health

center is" dependent" on a parent or "autonomous" of the parent, however, appropriate

supervision is an express material pre-condition that must be satisfied before a Mental

Health Center can seek reimbursement from MassHealth. See 130 CMR §429,439.

E.   MBHP and MCOs Licensing and Supervision Requirements Through
Credentialing

         59.   Although Massl-Iea i th es tablishes qualifications, Iicensing and su perv ision

requirements for professional staff at mental health centers, such as the Arbour

facilities, it does not conduct individual re views of each and every staff member to

ensure the y have met the requirements of Section 429.424 . MassHealth places the

responsibility on the mental health centers to ensure that their staff members who

provide billable services meet the requirements, and in particular, the regulations place

this responsibility on the mental health center's Director of Clinical Services, see 130

C.M.R. §429.423(B)(2}.




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                  60.       MBHP and the MCOs take a more pro-active approach in ensuring that all

           practitioners who provide billable mental health services to Massllealth members are

           qualified, licensed, and properly supervised . They require the mental health centers to

           actively investigate whether their staff has the minimum qualifications for providing

           mental health services and to make explicit certifications for each and every practitioner

           that the relevant qualification requirements have been met. Only if the mental health

           facility makes the appropriate certifications - which must be reaffirmed every three

           years - will MBHP and the MCOs accept claims based for services provided by the

           practitioner.    It in fact, MBHP and the MCOs pays claims for services provided by a

           practitioner who does not meet the requirements of §429.424 (or the other licensure,

           qualification or supervision requirements) it is only because the mental health clinic has

           either made a deliberate false statement or because it has provided certifications in

           reckless disregard of the truth or falsity of statements.

                  61.       Similar to Massl-Iealth, MBHP will not pa y claims presented by a provider

           who is not qualified to participate in the MassHeaIth program. Many mental health

           service claims, however, are submitted by
                                                   . mental health centers, which are usuallv
                                                                                            "

           corporate entities. In these cases, the named provider does not actually perform the

           service - the reimbursable service is performed by a mental healthcare professional who

           is an employee or a contractor. MBHP has a formal credentialing process to make sure

           that the individuals who actually perform the billable work are qualified to provide

           such services.



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       62.       As part of this credentialing process, Arbour and other mental health

center providers make attestations to MBHP that the individuals who actually perform

the billable services are able to perform essential functions of their position or

operational status. Arbour and other providers make attestations to MBHP that

individual practitioners:

             •   Are able to practice independently in his/her specialty, with clinical

                 privileges in good standing at the institution designated as the primary

                 admitting facility;

             •   Graduated from an accredited professional school and/ or highest training

                 program applicable to the academic degree, discipline or licensure;

             •   Meet the minimum hours of clinical experience as defined by the state

                 licensing board, and, if applicable, meet the minimum supervision

                 requirements of MassHealth under an approved supervisor;

             •   Ha ve a ppropria te work history for the practi honer's specialty,s pecialty

                 board certification, if indicated, and current specialized training for

                 certain levels of special ty care; and

             •   Are not excluded or sanctioned by government-sponsored health benefit

                 programs, such as MassHealth.

      63.        MBHP performs a re-credentialing process with all providers, including

Arbour, at least as frequently as every three years. The attestations referenced in the

preceding paragraph must be reaffirmed for each and every practitioner in every re­

credentialing process.

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       64.     MBHP requires providers, sueh as Arbour, to update MBHP within no

more than 10 days if there are "material" changes in credentialing or re-eredentiaIing

a pplica tions, express! y inc luding "a n y action against licenses, certifica hans,

registrations, and/ or accreditation status." MBHP will terminate network partie! pation

for failing to comply with its credentialing update requirements.

       65.     For entities the size of UHS, MBHP assigns credentialing and re­

credentialing responsibilities to the facility. MBHP requires all credentialed

professionals to meet all applicable laws, rules and regulations (state and federal), all

accreditation standards, and all client and/ or goverrunent program-specific

requirements, including MassHealth regulations.

       66.     Organizational prov iders such as Arbour must ensure that employees and

contractors serving MassHealth beneficiaries not only meet Massl-Iealth's supervision,

licensure and qualifications requirements, but relevant MBHP and MCO credentialing

criteria, which are stricter. To be credentialed to provide services in a particular

profession. MBHP and MCOs require that individual practitioners have current, valid,

unrestricted licenses to practice in the profession that require licensure in the

Commonwealth of Massachusetts.

       67.     MBHP provides a ver y limited exception to its licensing requirements to

three types of providers, psychology interns, social work interns and mental health

counselor interns. MBHP's intern licensing exceptions only apply to interns who are

supervised by eligible, licensed individuals, and who receive a minimum of two

hours a week of direct supervision (one hour face to face, individual supervision, and

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one hour of either individual or group supervision). Such supervision must be

documented in files accessible for review by MBHP. Psychology interns must be

supervised by a licensed psychologist; social work interns must be supervised by a

Licensed Independent Clinical Social Worker; and mental health counselor interns must

be supervised by a Licensed Mental Health Counselor, a Licensed Independent Clinical

Social Worker, a licensed, psychologist, a licensed, master's-level clinicaI nu rse

specialist, or a licensed psychiatrist. MBHP also strictly defines who is an "intern" for

the purpose of its licensing exception. A psychologist, social worker or mental health

counselor who is unable to pass, or unwilling to take, the professional licensing exam

for his or her specialty is not considered an "intern" and consequently cannot bill

MBHP for services.

       68.    MBHP's credentialing requirements also mandate that if a MassHealth

beneficiary's case is assigned to an intern, the beneficiary must be informed of the

intern's status and that the beneficiary can request and receive, without prejudice, a

reassignment to a clinician who is not an intern . Failure to inform a beneficiary that

their clinician is an intern may result in termination.

       69.    In its contracts with MBI-IP (and its contract with the MCOs), Arbour has

agreed that MBI-IP (and the MCOs) may impose sanctions (including suspension and

termination of network participation) for creJentialing/ re-credentiaiing failures, and

for professional competency and/ or conduct issues; quality of care concerns/ issues;

and for violations of state or federal laws, rules, or regulations.



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        70.     The credentialing requirements described above apply to claims made on

behalf of PPC Plan members, whose mental health benefits MBHP manages. However,

virtually the same credentialing requirements apply to claims made on behalf of almost

all MassHealth beneficiaries enrolled in the        Mea Plan because MBHP and Beacon have

nearly identical credentialing criteria. As discussed above, both MBHP and Beacon are

subsidiaries of Beacon Health Holdings." and, with the exception of the Tufts-Network

Health Plan," all of the MCOs contract out the management of their behavioral

healthcare services to Beacon.

        71.     Beacon, like MBHP, has a credentialing process for all mental health care

practitioners. UHS can only receive reimbursement for services provided to MCa

beneficiaries if the practitioner who provided the services meets Beacon's credentialing

criteria . All providers, including Arbour, make attestations to Beacon that individual

practitioners graduated from an accredited professional school. are licensed (or eligible

to receive a license), are not excluded or sanctioned by government-sponsored health

benefit program, and have documented clinical supervision under an approved

supervisor as defined by Massl-Iealth regulations.

        72.     As with MBHP, Beacon, on behalf of the MCOs, requires a re­

credentialing process by all providers, including UHS at least as frequently as every
                                                                1




three years. The necessary attestations referenced in the proceeding paragraphs must
- -- - - - _..._ - ­
7Even before MBHP's parent corporation merged with Beacon, the credentialing stand ar ds employed by
MBHP and the Beacon entities were substantially similar. Both organizations employed a credentialing
model Widely adopted within the industry which was the industry standard . VVhen the organizations
merged, their credentialing models did not change significantly

8Although Tufts - Network Health does not utilize Beacon as a contractor for its behavioral healthcare
services, its credentialing criteria is nearly identical to that used by Beacon .

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be reaffirmed for eae h and every practitioner in every re-credentia ling process. As with

MBHP, Beacon, on behalf of the MCOs, requires all practitioners to be independently

licensed in their professions, with limited exceptions for certain types of interns.

Beacon's credentialing process, like MBHP's, is stricter than the licensing, qualifications

and supervision requirements under MassHealth's regulations. Not all mental health

care practitioners who are allowed to bill MassHealth are qualified to receive

reimbursement under MBHP's or the MCOs' credentiaIing requirements. However, no

one who does not meet the minimum MassHealth licensing, qualifications or

supervision requirements for submitting bills is qualified to perform services that will

be reimbursed by MBHP or the MCOs.

      73.     The credentiaIing process established by MBHP and the MCOs establishes

that compliance with Massl-iealth's minimum qualifications, licensure and supervision

requirements is material to MBHJYs and the MCOs' payment decisions. MBHP and the

MCOs would not have established and enforced the elaborate credentials requirement if

they did not intend to enforce the requirement that Massl-ieaith funds will onl y be used

to pCly for services performed by a qualified practitioner. If the provider performs the

credentialing process in good faith, mental health practitioners who do not meet

Massl-lealth's minimum qualifications will be identified, and neither MBHP nor the

MCOs will knowingl y pay for claims for those practitioners' services.

F.    Claims Submission to MBHP and MCOs

      74.     For the submission of claims to MBHP and MCOs, Arbour specifically

agreed by contract that supervising clinicians should not submit claims in their name,

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and that no participating provider should submit claims in their name for services that

were provided by another individual provider.

        75.       By contract with Arbour, MBHP and MCOs required certain data from

Arbour for every claim for payment for a MassHealth member, including:

              •   Data about the facility, including address;

              •   Data about the type of bill to be submitted (including

                  inpatient/outpatient, type of facility, type of care, and sequence of the bill

                  for a specific episode of care);

              •   Data about the patient, including name, address, date of birth, and sex;

              •   Data about the service provided, including admission and discharge date

                  and hour, priority (type) of visit source of referral, discharge status;

              •   Total charges for the service(s) provided;

              •   For the service provider, name and one form of identifier, either an NPI

                  number or a non-Nf'I number (as explained below), which may include a

                  state license number or a type of commercial number; and

        76.       Individual claims do not necessarily bear the NPI numbers? of individual

practitioners; instead, MBHP and parent company Beacon assign providers unique six

digit numbers. Such numbers are assigned after MBHP and Beacon review the

credentialing information provided for each practitioner and has verified that the

practitioner meets the qualifications and credentiaJing requirements. MBHP and MeOs

9 An NPI is a unique lO-digit identification number which is issued to health care providers in the United
States by the Centers for Medicare and Medicaid Services ("CMS"). The NPI is used to identify health­
care providers for bill ing purposes in all HIPAA transactions. and, as of M<lY 23, 2007, a II paper and
electronic claims submitted to MassHealth must contain an NPI.

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rely on the credentialing information submitted by providers like Arbour in processing

subsequent claims for payment submitted on behalf of these providers. Neither MBHP

nor the MCOs will knowingly provide a unique identifying number to a practitioner

who does not meet MassHealth's minimum licensure, qualification or supervision

require me nts.

G.    MassHealth and Other Massachusetts Regulations for Provision of Behavioral
Health Services Apply to Services Paid for by MBHP and MCOs

         77.   Mental health care providers such as UHS contract with MBHP and the

various MCOs, and are compensated by those entities for the mental health services

they provide to MassHealth members. MBHP and the MCOs pay these providers with

funds that have been provided to them by the United States and the Commonwealth

through the Massachusetts Medicaid Program. Consequently, any request for payment

made to M8HP or an MCO on account of any services provided to a MassHealth

member is a "claim" for the purpose of 31 U.s.C §§ 3729 and 3730 and M.G.L. c. 12, §§

58 and 5C. Any presentation of a false or fraudulent request or demand for payment to

these entities is a "false claim" as defined by those statutes. Anv reference to any of the
                                            •                     J                _




Defendants presenting claims or causing claims to be presented to Massl-Iealth shall

include the presentation of claims and the causing of claims to be presented to MBHP or

to an   Mea that has contracted with Massl-Iealth.

         78.   Pursuant to all provider agreements between MBHP (or the various

MCOs) and mental health care providers, including the agreements with all UHS

entities, the provider must comply with all state and federal regulatory requirements.


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See 130 C.M.R. §450 .223 (C)(1); 42 CFR § 438.214. AU conditions of payment under

Massl-Iealth regulations, policies and practices are conditions of payment under any

provider contracts with MBHP or with an MCO.

       79.     Moreover, by contract, MBHP and MCOs expressly provided with Arbour

that Arbour had a responsibility to comply "with all applicable state and! Of federal

laws, rules, and! or regulations," including those requiring licensure and certification

related to the provision of mental health services. Arbour agreed with MBHP and

MCOs it was the responsibility of Arbour to en sure that it complied with the

"professional and legal requirements" within Massachusetts, and that Arbour would be

in com pi ia nee with" all app Iicable sta tu tes, regulations,   TU les,   and d i recti ves of federal,

state, and other governmental regulatory bodies having jurisdiction over it or the

provisions of services," as required for MassHealth members.

       80.     The general credentialing requirements of MBHP and MCOs expressly

condition providers' eligibility for participation in its network on conforming to" all

applicable licensing, certification, or other professional standards as set forth in

applicable state and federal laws and regulations." See also 130 CMR §450.223(C)(1) .

Through credentialing, MBHP and MCOs ensure that MassHealth beneficiaries receive

safe and adequate mental healthcare services performed by qualified and licensed

clinicians.

H.     MassHealth Service Codes and Descriptions

       81.     Claims submitted to MBHP and to the MCOs must also include diagnosis

and procedure codes, including Current Procedural Terminology ("CPT") codes. The

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CPT system, developed by the American Medical Association, is designed to provide

information about services provided for financial and administrative purposes. CPT

codes play an important part in the billing process as they identify for the insurance

payer the services for 'w hich the healthcare provider seeks reimbursement. MassHealth

uses the CPT coding system for health services performed by mental health clinicians or

other qualified health care practitioners, however, at relevant times, MassHealth

adopted definitions for service codes that were unique to the Commonwealth.

       82.      Section 601 of the Mental Health Center Manual sets forth CPT codes

which correspond to particular mental health services. Each mental health service is

described and the assigned code is used by providers to bill MassHealth for the service.

Section 601 is clear that reimbursement is contingent on compliance with the

MassHealth regulations discussed above as the Section states: " Mass liealth pays for

services represented by the codes listed in Subchapter 6 in effect at the time of service,

subject to all conditions and limitations in Massl-Iealth regulations at 130 CMR 429.000

and 450.000."

       83.      The claims UHS submitted to MassHealth, MBHP and MCOs contained

the CPT codes which identified the services for which UHS sought reimbursement.

MassHealth's definitions of the relevant CPT codes not only identify which services

UHS represented it had provided, but also define what MassHealth (or MBHP, or an

MCO) expected to receive in exchange for reimbursement. The majority of the relevant

claims bore CPT codes 90806, 90847, 90853,90801,90804,90832, and 90834, which

corresponded to the provision of individual therapy, family therapy, group therapy,

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psychiatric diagnostic interview examination, and individual psychotherapy

respectively. The definition of these codes also underscores the importance MassHealth

placed on compliance with the requirements of § 429.424. At relevant times, Section 601

of the MassHealth Mental Health Center Manual defined these codes as Follows;"!

90806:           Individual psychotherapy, insight oriented, behavior modifying and/ or
                 supportive, in an office or outpatient facility, approximately 45 to 50
                 minutes face-to-face with the patient (by professional staff member as
                 defined in 130 CMR 429.424) .

90847:            Family psychotherapy (conjoint psychotherapy) (with patient present)
                 (by professional staff member as defined in 130 CMR 429.424) .

90853:          Group psychotherapy (other than of a multiple-family group) (by
                professional staff member as defined in130 CMR 429.424) .11

90801:           Psychiatric Diagnostic Interview Exam.

90804:          Individual psychotherapy, insight oriented, behavior modifying and/ or
                supportive, in an office or outpatient facility, approximately 20 to 30
                minutes face to face with the patient.

90832:          Psychotherapy, 30 minutes with patient and/ or family member.

90834:          Psychotherapy, 45 minutes with patient and/ or family member.

                                    FACTUAL ALLEGATIONS'2

         84.     UHS is America's largest psychiatric chain and operates more than 200

psychiatric facilities across the country. UHS treated nearly 450,000 patients last year


l( l This list is not exhaustive, but representative of the types of services and codes for which. counseling

vvas billed to Massf-Iealth.
11 The parenthetical in CPT Codes 90806,90&-17 and 90853 requiring such services to be performed "by a

professional staff member as defined in 130 CMR 429.42'-l" was removed in April 2014. At the same time,
130 CM.R. § 429.424 was amended to make it clear that only practitioners who met the qualifications
requirements establish in that section were authorized to render billable mental health center services, so
the language in the parenthetical was su perfluous, SI!/!, fn . 5 supra.
12 A copy of Yarushka Rivera's medical records documenting her treatment at Arbour Lawrence are

attached at Exhibit 1.

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alone and more than a third of the company's yearl y revenue, which totals in the

billions of dollars, is generated from Medicare and Medicaid patients. UHS/ however,

has embraced a corporate culture that puts profits ahead of patients. Numerous reports

have surfaced in at least a dozen states that Ul-IS has engaged in a pattern of healthcare

fraud that has placed patients in harm's way . A 2011 report on one of UH5's Chicago

hospitals revealed that UHS had "woefully inadequate" staffing and that UHS's failure

to adequately train staff at the hospital was "repeated and willful. .. in an effort to

maximize financial profits." In early 2015 it was revealed that UHS was under

in vestigation by the Ll.S. Department of Justice Criminal Fraud Section. The

investigation focused on whether the company had fraudulently billed Medicare and

Medicaid for behavioral health services provided to its patients. More than twenty-five

UHS facilities are currently under federal investigation including multiple facilities in

Florida, Georgia, Illinois, North Carolina, Pennsylvania, Texas, Utah, and Virginia.

Despite the ever-widening investigation into UHS, the company continues to see

admissions to its facilities steadily increase.

       85.     During the relevant period, all of the Arbour Clinics treated Massl-Iealth

members and a high proportion of each clinic' 5 pa tien t visits (and each cl i n ic's reven ue)

was due to treatment of MassHealth members. According to the Commonwealth

between 2005 through 2013, the revenue each Arbour Clinic received directly from

MassHealth and from MBHP on account of their treatment of MassHealth members

was as follows:

             Arbour Allston                       $ 7,586,450

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            Arbour   Franklin                 $ 4,874,590
            Arbour   Haverhill                $ 3,782,869
            Arbour   Lawrence                 $10,679712
            Arbour   Lowell                   $ 5,314,685
            Arbour   Malden                  $12,277,457
            Arbour   Norwell                 $ 10,922,822
            Arbour   Woburn                   $ 5,841, 181
            Arbour   Worcester                $ 3,668,030
            Arbour   Fall River               $ 8,281,579

Additionally, the Arbour clinics received an additional $20,918,317 from various MCOs

for mental health treatment provided to MassHealth members. In total, during this

period, the A.rbour clinics presented claims (and received payments) in excess of

$94,000,000 for providing counseling and medication management to MassHealth

members.

      86.    Relators became aware of UHS's fraudulent acti vities in Massachusetts as

a result of treatment their daughter Yarushka received at UHS's Arbour Lawrence

clinic. Yarushka, a recipient of MassHealth insurance benefits, was first referred for

mental health care at Arbour Lawrence in 2004, after she began experiencing behavioral

problems at her middle school. Yarushka received counseling at Arbour Lawrence with

Anna Cabacoff, a licensed social worker.

      87.    In late 2007, however, Relators were informed bv., Edward Keehan, Arbour

Lawrence's clinical director, that Yarushka needed to be in group therapy with other

children and he transferred her care to Maria Pereyra, who referred to herself as a

"social worker ." In November 2007, Yarushka began receiving "Group Therapy"

counseling with Pereyra. After several group therapy sessions with Pereyra, and




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approximately fifteen other patients, Yarushka complained that she was not benefiting

from the counseling.

       88.    Relators met with Keohan, Pereyra's supervisor, and informed him that

they were concerned about the care Yarushka was receiving from Pereyra. Keehan told

the Relators that they should give Pereyra some more time working with Yarushka and

that Pereyra would provide individual counseling for Yarushka rather than treating her

as part of a group. Relators and Yarushka agreed with Keehan's recommendation and

Yarushka continued to be treated by Pereyra, but on an individual basis.

       89.    Unfortunately, Yarushka did not improve . Relators again contacted

Keohan and expressed their concerns regarding Pereyra's treatment of Yarushka and

stated that they would like Yarushkas care to be transferred. At Relators' request,

Keehan transferred Yarushka's care to Diana Casado. Like Pereyra, Casado also

referred to herself as a social worker. She treated Yarushka both in group therapy and

on an individual basis from June 2008 through September 2008.

       90.    Unbeknownst to Relators, neither Pereyra nor Casado were social workers

as they had claimed to be. Furthermore, neither had any professional licensure that

would allow them to provide mental health counseling to children such as Yarushka.

without appropriate supervision. Neither Keehan, nor any other licensed social

worker, provided any supervision of Pereyra or Casado which was required, given

their unlicensed status.

       91.    By February 2009, it was clear to Relators that neither Pereyra nor Casado

had benefited Yarushka, and Relators asked Keehan to transfer Yarushka's care.

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Keohan informed Relators that he was going to reassign Yarushka's care to Anna

Fuchu, who Keehan represented was a very experienced"doctor" who could help

Yarushka. Fuchu told Yarushka and the Relators that she was a "psychologist," had

obtained a Ph.D., and referred to herself as "Dr. Fuchu." On Februarv, 25, 2009, Fuchu

met with Yarushka and conducted an Initial Clinical Evaluation that lasted

approximately fifteen minutes. Based on this evaluation, Fuchu formally diagnosed

Yarushka as suffering from bipolar disorder, the first time Yarushka had been so

diagnosed.

       92.    Fuchu provided individual therapy to Yarushka as well as family therapy

to Yarushka and her family throughout 2009. Relators would later learn, however, that

Fuchu was not a psychologist and that her application for licensure as such had been

denied by the Massachusetts Board of Registration for Psychologists. Relators would

also learn that Fuchu was not supervised by a certified psychologist and that the

Arbour clinic did not even employee a certified psychologist who was qualified to

supervise.

       93.    In May of 2009, Relators were again contacted by school officials and were

informed that Yarushka was having trouble interacting with other students at school

and would need to be seen by a psychiatrist before she could be readmitted. Relators

told Fuchu of the school's recommendation and Fuchu referred Yarushka to Maribel

Ortiz of Arbour Lawrence. Because they had specifically informed Fuchu that

Yarushka needed to be seen by a psychiatrist, and Fuchu referred Yarushka to Ortiz,

Relators believed Ortiz was, in fact, a psychiatrist and referred to her as "Dr. Ortiz."

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